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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,
                                                                   Case No. 1:17-cr-271-3
 v.
                                                                   HON. JANET T. NEFF
 THOMAS LEE COWLEY,

       Defendant.
 ____________________________/


               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed on March 26, 2018 by the

United States Magistrate Judge in this action. The Report and Recommendation was duly served

on the parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge (ECF No. 217) is

approved and adopted as the opinion of the Court.

       2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charge set forth in Count One of the Second Superseding Indictment.

       3.      The written plea agreement is hereby continued under advisement pending

sentencing.



Dated: April 10, 2018                                        /s/ Janet T. Neff
                                                            JANET T. NEFF
                                                            United States District Judge
